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                                                          ELECTRONICALLY FILED
                      UNITED STATES DISTRICT COURT        DOC #:
                     SOUTHERN DISTRICT OF NEW YORK        DATE FILED: 10/16/2020


BRYCE BABSON, TREVOR BRANDT,
JAMES BUTLER, JESTER CASTRO,                 Case No.: 20-CV-02370(MKV)
ROLAND HICKS, CHRISTOPHER KRUSE,
ROBERT LALENA, CHARLES LEWIS,                NOTICE AND ORDER STAYING
MICHAEL T. SMALSONE, CHRISTOPHER
RESSLER and GARRETT STRYZS On Behalf         CASE IN DEFERENCE TO
of Themselves and All Others Similarly
Situated,                                    BANKRUPTCY PETITION

                          Plaintiffs,

      v.

BOUCHARD TRANSPORTATION CO., INC.,
B. NO. 205 CORP., B. NO. 210 CORP., B. NO.
215 CORP., B. NO. 220 CORP., B. NO. 225
CORP., B. NO. 230 CORP., B. NO. 231 CORP.,
B. NO. 233 CORP., B. NO. 235 CORP., B. NO.
240 CORP., B. NO. 242 CORP., B. NO. 245
CORP., B. NO. 250 CORP., B. NO. 252 CORP.,
B. NO. 260 CORP., B. NO. 262 CORP., B. NO.
264 CORP., B. NO. 265 CORP., B. NO. 270
CORP., B. NO. 272 CORP., B. NO. 280 CORP.,
B. NO. 282 CORP., B. NO. 284 CORP., B. NO.
285 CORP., AND B. NO. 295 CORP.

TUG EVENING MIST, IN REM, TUG
EVENING TIDE, IN REM, TUG BOUCHARD
BOYS, IN REM, TUG EVENING LIGHT, IN
REM, TUG ELLEN S. BOUCHARD, IN REM,
TUG EVENING STAR, IN REM, TUG
DENISE A. BOUCHARD, IN REM, TUG
RHEA I. BOUCHARD, IN REM, TUG CAPT.
FRED BOUCHARD, IN REM, TUG MORTON
S. BOUCHARD, IN REM, TUG BUSTER
BOUCHARD, IN REM, TUG MARION C.
BOUCHARD, IN REM, TUG BARBARA E.
BOUCHARD, IN REM, TUG ROBERT J.
BOUCHARD, IN REM, TUG J. GEORGE
BETZ, IN REM, TUG BRENDAN J.
BOUCHARD, IN REM, TUG JANE A.
BOUCHARD, IN REM, TUG MORTON S.
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    BOUCHARD, IN REM, TUG LINDA LEE
    BOUCHARD, IN REM, TUG DANIELLE M.
    BOUCHARD, IN REM, TUG KIM M.
    BOUCHARD, IN REM, TUG FREDERICK E.
    BOUCHARD, IN REM, TUG RALPH E.
    BOUCHARD, IN REM, TUG BOUCHARD
    GIRLS, IN REM, TUG DONNA J.
    BOUCHARD, IN REM, AND TUG EVENING
    BREEZE, IN REM, THE B. NO. 205, IN REM,
    THE B. NO. 210, IN REM, THE B. NO. 215, IN
    REM, THE B. NO. 220, IN REM, THE B. NO.
    225, IN REM, THE B. NO. 230, IN REM, THE
    B. NO. 231, IN REM, THE B. NO. 233, IN
    REM, THE B. NO. 235, IN REM, THE B. NO.
    240, IN REM, THE B. NO. 242, IN REM, THE
    B. NO. 245, IN REM, THE B. NO. 250, IN
    REM, THE B. NO. 252, IN REM, THE B. NO.
    260, IN REM, THE B. NO. 262, IN REM, THE
    B. NO. 264, IN REM, THE B. NO. 265, IN
    REM, THE B. NO. 270, IN REM, THE B.
    NO. 272, IN REM, THE B. NO. 280, IN REM,
    THE B. NO. 282, IN REM, THE B. NO. 284, IN
    REM, THE B. NO. 285, IN REM, AND THE B.
    NO. 295, IN REM,

                                       Defendants.

                  SUGGESTION OF BANKRUPTCY FOR BOUCHARD
              TRANSPORTATION COMPANY, INC. AND CERTAIN OF ITS
          AFFILIATES AND NOTICE OF AUTOMATIC STAY OF PROCEEDINGS

          PLEASE TAKE NOTICE that, on September 28, 2020, Bouchard Transportation Co.,

Inc. and certain of its affiliates (collectively, the “Debtors”), 1 filed voluntary petitions for relief

under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101—1532 (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy




1     The Debtors in these initial chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, are: Bouchard Transportation Co., Inc. (6190); B. No. 240 Corp. (8260); B. No. 295 Corp.
      (1019); Tug Barbara E. Bouchard Corp. (7889); and Tug Bouchard Girls Corp. (1231). The location of the
      Debtors’ service address is: 58 South Service Road, Suite 150, Melville, NY 11747.
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Court”). Copies of the voluntary petitions of the lead Debtor, Bouchard Transportation Co., Inc.,

and its Debtor affiliates are attached hereto as Exhibits 1.

        PLEASE TAKE FURTHER NOTICE that the Debtors’ chapter 11 cases are pending

before the Honorable Judge David R. Jones. The chapter 11 cases are being jointly administered

under the lead case In re Bouchard Transportation Co., Inc., Case No. 20-34682 (DRJ)

(the “Chapter 11 Cases”). Exhibit 2. The Court’s joint administration Order identifies all

Defendants above as filing for bankruptcy.

        PLEASE TAKE FURTHER NOTICE that, pursuant to section 362(a) of the

Bankruptcy Code, the Debtors’ filing of their respective voluntary petitions gives rise to a stay,

applicable to all entities, of, among other things: (a) the commencement or continuation of any

judicial, administrative, or other action or proceeding against the Debtors (i) that was or could have

been commenced before the commencement of the Chapter 11 Cases or (ii) to recover a claim

against the Debtors that arose before the commencement of the Chapter 11 Cases;

(b) the enforcement against any of the Debtors or against any property of each of the Debtors’

bankruptcy estates of a judgment obtained prior to the commencement of the Chapter 11 Cases;

and (c) any act to obtain possession of property of or from any of the Debtors’ bankruptcy estates,

or to exercise control over property of any of the Debtors’ bankruptcy estates. 2 No order has been

entered in the Chapter 11 Cases granting relief from the automatic stay.

        PLEASE TAKE FURTHER NOTICE that the defendants (“Defendants”) in the

above-captioned matter have secured new counsel to administer the matter in the Bankruptcy

Court. In light of the automatic stay pursuant to section 362(a) of the Bankruptcy Code,


2   Nothing herein shall constitute a waiver of the Debtors’ rights to assert any claims, counterclaims, defenses, rights
    of setoff or recoupment, or any other claims against any party to the above-captioned case. The Debtors expressly
    reserve all rights to contest any claims that may be asserted against the Debtors.
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Defendants anticipate that the claims asserted in this action will be adjudicated in the Chapter

11 Cases.

       PLEASE TAKE FURTHER NOTICE that additional information regarding

the   Chapter 11 Cases may be obtained free of charge by visiting the website of the

Debtors’ proposed claims and noticing agent at https://cases.stretto.com/bouchard. You may

also obtain copies of any pleadings by visiting the Court’s website at https://

ecf.txsb.uscourts.gov (PACER login and password required) in accordance with the procedures

and fees set forth therein.

       WHEREFORE,             IT   IS   ORDERED       that Defendants having filed a letter in

response to the Court's Order dated October 2, 2020 [ECF Nos. 63, 70], this

matter is automatically stayed pursuant to Section 362 of the Bankruptcy Code, 11

U.S.C. § 362, by reason of the filing of the bankruptcy petitions in the U.S.

Bankruptcy Court in the Southern District of Texas under Case No.: 20-34682 (the

"Bankruptcy Case").

        IT IS FURTHER ORDERED that Defendants shall file a report on the status of the

Bankruptcy Case on or before January 31, 2020, and every three months thereafter, or within one

week of the termination of the Bankruptcy Case or any order lifting the bankruptcy stay with

respect to this case.

SO ORDERED.
 Dated: October 16, 2020                            MARY KAY VYSKOCIL
 New York, New York                                 United States District Judge
